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                                                                                  FILED



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                                     IN THE UNITED STATES DISTRICT COURT
                                    FOR THE SOUTHERN DISTRICT OF
                                              WAYCROSS DIVISION       s0




              PAMELA COOPER,

                                     Petitioner,                       CIVIL ACTION NO.: CV511-040

                           ►CAI



              UNITED STATES OF AMERICA,                                (Case No.: CR592-29)

                                     Respondent.



                                  MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION



                     Defendant Pamela Cooper ("Cooper"), who is currently incarcerated at the

              Federal Correctional Institution in Marianna, Florida, filed a Motion to Vacate, Set Aside,

              or Correct her Sentence pursuant to 28 U.S.C. § 2255. The Government filed a

              Response. For the reasons which follow, Cooper's Motion should be DISMISSED.

                                                   STATEMENT OF THE CASE

                     Cooper was convicted in this Court, after a jury trial, of: conspiracy to possess

              with intent to distribute cocaine and cocaine base, in violation of 21 U.S.C. § 846;

              possession with intent to distribute cocaine and cocaine base, in violation of 21 U.S.C. §

              841(a)(1); and use of a firearm during a drug trafficking offense, in violation of 18 U.S.C.

              § 924(c). Cooper was sentenced to 480 months' imprisonment, which was later


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              modified to 295 months' imprisonment. (CV598-43, Doc. No. 6, pp. 1-2). Cooper filed a

              direct appeal, and the Eleventh Circuit Court of Appeals affirmed her conviction and

              sentence. United States v. Reese, 67 F.3d 902 (1 lth Cir. 1995).

                    Cooper filed a section 2255 motion, alleging that she did not use a firearm during

              the commission of her crime. The undersigned entered a Report and recommended

              Cooper's motion be dismissed as time-barred, (CV598-43, Doc. No. 6). The Honorable

              Anthony A. Alaimo adopted this recommendation as this opinion of the Court. (CV598-

              43, Doc. No. 10).

                     Cooper then filed a motion for reduction of sentence pursuant to 18 U.S.C. §

              3582, which Judge Alaimo denied. (CR592-29, Doc. Nos. 802, 804). Cooper filed a

              second section 3582 motion, and it, too, was denied. (CR592-29, Doc. Nos. 892, 903).

                     In this Motion, Cooper contends that her sentence should be adjusted due to

              changes in the United States Sentencing Guidelines. Cooper also contends that this

              Court erred in denying her previously-filed § 3582 motions. Cooper alleges that she

              was denied her right to due process, as she was tried on charges not set forth in the

              indictment. Finally, Cooper alleges that she was denied her right to an appeal due to

              ineffective assistance of counsel. The Government avers that Cooper's Motion is a

              second or successive motion and should be dismissed.

                                     DISCUSSION AND CITATION 10 AUTHORITY

                     To file a second or successive § 2255 motion, the movant is required to first file

              an application with the appropriate court of appeals for an order authorizing the district

              court to consider the motion. 28 U.S.C. § 2244(b)(3)(A); Farris v. United States, 333




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              F.3d 1211, 1216 (11th Cir. 2003). A panel of the court of appeals must certify that the

              second or successive motion contains:

                     (1) newly discovered evidence that, if proven and viewed in light of the
                     evidence as a whole, would be sufficient to establish by clear and
                     convincing evidence that no reasonable factfinder would have found the
                     movant guilty of the offense; or

                     (2) a new rule of constitutional law, made retroactive to cases on collateral
                     review by the Supreme Court, that was previously unavailable.

              28 U.S.C. § 2255(h); In re Anderson, 396 F.3d 1336, 1337 (11th Cir. 2005). "Without

              authorization" from the court of appeals, a "district court lack[s] jurisdiction to consider [a

              movant's] second or successive" motion. Carter v. United States, 405 F. App'x 409,

              410 (11th Cir. 2010). The dismissal of a previous section 2255 as untimely

              "constitute[s] a dismissal with prejudice," requiring a movant to seek permission from

              the Eleventh Circuit to file a successive § 2255 motion. j (citing 28 U.S.C. §

              2244(b)(3)(A), 2255(h)).

                     Cooper's first section 2255 motion was denied as being untimely, which requires

              Cooper to seek authorization from the Eleventh Circuit before filing the instant Motion.

              Cooper did not receive prior authorization from the Eleventh Circuit Court of Appeals

              which would permit this Court to exercise jurisdiction over this section 2255 motion.

              Even if the Eleventh Circuit authorized her motion, it does not appear that Cooper would

              be entitled to her requested relief. Cooper has not set forth any assertions which fall

              within § 2255(h)'s requirements.




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                                                   CONCLUSION

                    Based on the foregoing, it is my RECOMMENDATION that Cooper's Motion to

              Vacate, Set Aside, or Correct her Sentence, filed pursuant to 28 U.S.C. § 2255, be

              DISMISSED.

                    SO REPORTED and RECOMMENDED, this                day of July, 2011.




                                                              E. GRAHAM
                                                              STATES MAGISTRATE JUDGE




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